Case 1:22-cv-00893-LDH-TAM Document 204 Filed 12/26/23 Page 1 of 5 PageID #: 5418




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  --------------------------------------------------------X

  TROOPER 1,

                                    Plaintiffs,
                                                                     ORDER
                        -against-
                                                              22-CV-893 (LDH) (TAM)
  NEW YORK STATE POLICE ET AL.,

                                    Defendants.

  --------------------------------------------------------X

  TARYN A. MERKL, United States Magistrate Judge:

           WHEREAS, on April 24, 2023, the Court entered an amended confidentiality

  order permitting the designation as confidential sensitive information and data

  including “documents, testimony, or electronically stored information that can

  reasonably be construed as revealing a party’s non-public confidential personal,

  proprietary, or investigative information,” and specifying that the definition of

  producing party may include “any party or nonparty making a production of

  documents or information in this matter,” (Confidentiality Order, ECF No. 68, at 1);

           WHEREAS, on July 19, 2023, Defendant Andrew Cuomo made a motion to file

  documents under seal, requesting to file under seal certain portions of a memorandum

  of law and exhibits including text messages, and certain portions of testimony from the

  deposition of nonparty Ana Liss-Jackson, (see ECF No. 98);

           WHEREAS, in response to the July 19, 2023 request to file under seal, the Court

  issued an order on August 1, 2023, reminding counsel of the standards governing

  sealing and directing Defendant Cuomo’s counsel to meet and confer with counsel for




                                                          1
Case 1:22-cv-00893-LDH-TAM Document 204 Filed 12/26/23 Page 2 of 5 PageID #: 5419



  two affected nonparties, namely, counsel for Lindsey Boylan and Ms. Liss-Jackson,

  regarding the scope of the proposed sealing request, (see Aug. 1, 2023 ECF Order);

         WHEREAS, on August 9, 2023, counsel for Ms. Boylan filed a motion to file

  documents under seal including exhibits and proposing redactions to the memorandum

  of law originally filed at ECF No. 98-1, (see ECF No. 111), to which Defendant Cuomo

  filed a reply on August 16, 2023, (see ECF No. 118);

         WHEREAS, on August 16, 2023, Defendants Melissa DeRosa and Richard

  Azzopardi made a motion to file documents under seal, which sought to file a

  memorandum of law that included proposed redactions, (see ECF No. 119),

  accompanied by a publicly-filed redacted version, (see ECF No. 120);

         WHEREAS, on August 17, 2023, Plaintiff Trooper 1 made a motion to file a letter

  concerning a discovery dispute under seal, (see ECF No. 123), accompanied by a

  publicly-filed version with very limited redactions, (see ECF No. 122);

         WHEREAS, on August 25, 2023, Plaintiff Trooper 1 made a motion to file a letter

  concerning a discovery dispute under seal, (see ECF No. 137), accompanied by a

  publicly-filed redacted version, (see ECF No. 136);

         WHEREAS, having reviewed the motions and sealing requests in light of the

  well established right of public access to judicial documents and the public’s interest in

  monitoring the administration of justice, see Lugosch v. Pyramid Co. of Onondaga, 435 F.3d

  110, 119–20 (2d Cir. 2006); United States v. Aref, 533 F.3d 72, 83 (2d Cir. 2008); King

  Pharms., Inc. v. Eon Labs, Inc., No. 04-CV-5540 (DGT) (RLM), 2010 WL 3924689, at *4

  (E.D.N.Y. Sept. 28, 2010) (collecting cases), the Court finds that the parties’ motions to

  seal should be granted in part and denied in part, as follows:




                                                2
Case 1:22-cv-00893-LDH-TAM Document 204 Filed 12/26/23 Page 3 of 5 PageID #: 5420



         IT IS HEREBY ORDERED that Defendant Cuomo’s motion for leave to file under

  seal (ECF No. 98) and nonparty Ms. Boylan’s related motion for leave to file under seal

  (ECF No. 111) are GRANTED in part and DENIED in part, as follows:

         1) The motions to file under seal (ECF No. 98 and ECF No. 111) must be filed

             publicly;

         2) The declaration of Ms. Boylan’s attorney filed at ECF No. 111-1 must be filed

             publicly;

         3) The exhibits included at ECF Nos. 98-2, 98-3,1 98-4, and 111-2 may be filed

             under seal and need not be re-filed;

         4) The exhibits filed at ECF Nos. 111-4 and 111-5, which include a letter from

             counsel for Ms. Liss-Jackson, and a newspaper article, respectively, must be

             filed publicly; and

         5) The proposed sealing requests as to Defendant Cuomo’s memorandum of

             law, filed by Ms. Boylan and detailed in ECF No. 111-3, are DENIED because

             the language proposed for redaction includes factual analysis in a judicial

             document that is highly relevant to various legal arguments that relate to the

             parties’ ongoing discovery disputes and myriad motions that have been filed




          1
            The Court notes that ECF No. 98-3 contains the deposition transcript of Ana Liss-
  Jackson, which her attorney has designated as confidential under the protective order that
  governs nonparty discovery in this case. (See Confidentiality Order, ECF No. 68.) Although
  Cuomo’s original motion sought leave to file ECF No. 98-3 under seal, he now contends that the
  transcript should be unsealed. The Court declines to unseal the entire transcript at this stage of
  the case. The transcript is not a judicial document and Cuomo has not demonstrated an
  “extraordinary circumstance or compelling need” to modify the protective order in this case, on
  which nonparty Ms. Liss-Jackson has demonstrated reliance. See generally S.E.C. v.
  TheStreet.Com, 273 F.3d 222, 229 (2d Cir. 2001); see id. at 230 (observing that it is “presumptively
  unfair for courts to modify protective orders which assure confidentiality and upon which the
  parties have reasonably relied”).



                                                   3
Case 1:22-cv-00893-LDH-TAM Document 204 Filed 12/26/23 Page 4 of 5 PageID #: 5421



             with the Court, and Defendant Cuomo’s motion to seal as to this document is

             likewise DENIED;

         IT IS FURTHER ORDERED that Defendant Cuomo is respectfully directed to

  publicly file his memorandum of law (originally filed at ECF No. 98-1), and that the

  parties are directed to publicly file the motions, memoranda, and exhibits detailed

  above that must be publicly filed, but the parties need not re-file any of the exhibits that

  may remain under seal;2

         IT IS FURTHER ORDERED that the motion to file documents under seal by

  Defendants DeRosa and Azzopardi (ECF No. 119) is DENIED because it seeks to seal

  language from a memorandum of law that contains factual analysis and legal argument

  in a judicial document that is highly relevant to the motions presently pending before

  the Court and that movants DeRosa and Azzopardi shall publicly file the memorandum

  of law;

         IT IS FURTHER ORDERED that the parties’ motion for leave to electronically file

  the August 17, 2023 discovery letter under seal (ECF No. 123) is GRANTED, and as a

  public, redacted version of the sealed letter has already been filed, (see ECF No. 122), the

  parties need not re-file the letter this time; and

         IT IS FURTHER ORDERED that the parties’ motion for leave to electronically file

  the August 25, 2023 discovery letter under seal (ECF No. 137) is DENIED because it

  seeks to seal various factual claims regarding a witness, many of which have already

  been discussed on the public record in this case, as well as factual analysis and legal


         2
           The parties are directed that the re-filing of the documents should not be made using
  the ECF event “Motion” to the extent that the document at issue is a motion to file a document
  under seal. Rather, the parties shall use ECF event “Other” and must make clear in the docket
  text which publicly-filed, redacted document relates to which sealed document, and vice-versa,
  and must include in the docket text the original ECF Number for the document when it was first
  filed.


                                                 4
Case 1:22-cv-00893-LDH-TAM Document 204 Filed 12/26/23 Page 5 of 5 PageID #: 5422



  argument in a discovery letter that is highly relevant to the judicial function of deciding

  the parties’ myriad discovery disputes; accordingly, Plaintiff’s counsel is respectfully

  directed to file a public version of the August 25, 2023 letter, following the protocol set

  forth in supra note 2.

         SO ORDERED.

  Dated: Brooklyn, New York
         December 26, 2023

                                            _____________________________________
                                            TARYN A. MERKL
                                            UNITED STATES MAGISTRATE JUDGE




                                               5
